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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR12-62-RSL

10          v.                                           DETENTION ORDER

11 JOSE MACIAS PERES,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Heroin and Methamphetamine

15 Date of Detention Hearing: March 29, 2012.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant has been charged by indictment with a drug trafficking offense which carries a

23 presumption of detention. Defendant is not a citizen of the United States, and the Court received



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 1 no information about his personal history, residence, family ties, employment history, drug or

 2 alcohol use, or health. Because defendant is not a citizen, an immigration and customs detainer

 3 has been lodged against him. Under these circumstances, defendant has failed to overcome the

 4 presumption of detention. In addition, defendant through his attorney stipulated to detention. It

 5 is therefore ORDERED:

 6          (1)    Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11          (3)    On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18       DATED this 29th day of March, 2012.

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                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
